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11
                                 IN THE UNITED STATES DISTRICT COURT
12
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14

15    RALPH COLEMAN, et al.,                                       CASE NO. CIV S-90-0520 LKK JFM P

16                                                 Plaintiffs,     [PROPOSED] ORDER GRANTING
                                                                   EXTENSION OF TIME FOR
17                      v.                                         DEFENDANTS TO DEPOSIT FUNDS

18    ARNOLD SCHWARZENEGGER, et al.,

19                                               Defendants.

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21                    GOOD CAUSE HAVING BEEN SHOWN, Defendants are hereby GRANTED an

22 extension of time, to and including November 22, 2005, to deposit the thirty-seventh interim

23 payment of $500,000.00 with the Clerk of the Court.

24 DATED:
                                                          LAWRENCE K. KARLTON
25                                                        UNITED STATES DISTRICT JUDGE

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27

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     [Proposed] Order Granting Extension of Time for Defendants to Deposit Funds            Coleman v. Schwarzenegger
                                                                                   Case No. CIV S-90-0520 LKK JFM P
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